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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION



UNITED STATES OF AMERICA  )
                          )
v.                        )                CRIMINAL ACTION FILE
                          )
ALFREDO BETANCOURT-MUNOZ, )                NUMBER 1:09-cr-25-TCB-JSA-7
                          )
        Defendant.        )



                                 ORDER

     This case is before the Court on Defendant Alfredo Betancourt-

Munoz’s motion to vacate his sentence under 28 U.S.C. § 2255 [373, 439].

In 2011, Betancourt pled guilty to a single count of conspiracy to commit

money laundering in violation of 18 U.S.C. § 1956. The Court sentenced

Betancourt to ninety-six months’ imprisonment.

     In March 2012, Betancourt filed a pro se § 2255 motion [373].

Betancourt asserted several grounds for relief, including one that his plea

counsel was ineffective. Accordingly, Magistrate Judge Anand appointed

new counsel for Betancourt, allowed his counsel to file a revised § 2255

motion [439], and conducted an evidentiary hearing. Magistrate Judge
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Anand then issued a Report and Recommendation [478] that recommends

denying the § 2255 motion with prejudice. Betancourt filed objections to

the R&R [487].

       A district judge has a duty to conduct a “careful and complete” review

of a magistrate judge’s R&R. Williams v. Wainwright, 681 F.2d 732, 732

(11th Cir. 1982) (quoting Nettles v. Wainwright, 677 F.2d 404, 408 (5th

Cir. 1982)).1 This review may take different forms, however, depending on

whether there are objections to the R&R. The district judge must “make a

de novo determination of those portions of the [R&R] to which objection is

made.” 28 U.S.C. § 636(b)(1)(C). In contrast, those portions of the R&R to

which no objection is made need only be reviewed for clear error. Macort

v. Prem, Inc., 208 F. App’x 781, 784 (11th Cir. 2006).2



       1 The Eleventh Circuit has adopted as binding precedent all Fifth Circuit decisions

issued before October 1, 1981, as well as all decisions issued after that date by the Unit B
panel of the former Fifth Circuit. Stein v. Reynolds Sec., Inc., 667 F.2d 33, 34 (11th Cir.
1982); see also United States v. Schultz, 565 F.3d 1353, 1361 n.4 (11th Cir. 2009)
(discussing the continuing validity of Nettles).
       2 Macort dealt only with the standard of review to be applied to a magistrate

judge’s factual findings, but the Supreme Court has held that there is no reason for the
district court to apply a different standard to a magistrate judge’s legal conclusions.
Thomas v. Arn, 474 U.S. 140, 150 (1985). Thus, district courts in this circuit have
routinely applied a clear-error standard to both. See Tauber v. Barnhart, 438 F. Supp.
2d 1366, 1373-74 (N.D. Ga. 2006) (collecting cases). This is to be contrasted with the
standard of review on appeal, which distinguishes between the two. See Monroe v.
Thigpen, 932 F.2d 1437, 1440 (11th Cir. 1991) (when a magistrate judge’s findings of fact

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      “Parties filing objections must specifically identify those findings

objected to. Frivolous, conclusive or general objections need not be

considered by the district court.” Nettles, 677 F.2d at 410 n.8. “This rule

facilitates the opportunity for district judges to spend more time on matters

actually contested and produces a result compatible with the purposes of

the Magistrates Act.” Id. at 410.

      The district judge also has discretion to decline to consider arguments

that were not raised before the magistrate judge. Williams v. McNeil, 557

F.3d 1287, 1292 (11th Cir. 2009). Indeed, a contrary rule “would effectively

nullify the magistrate judge’s consideration of the matter and would not

help to relieve the workload of the district court.” Id. (quoting United

States v. Howell, 231 F.3d 615, 622 (9th Cir. 2000)).

      After conducting a complete and careful review of the R&R, the

district judge may accept, reject or modify the magistrate judge’s findings

and recommendations. 28 U.S.C. § 636(b)(1)(C); Williams, 681 F.2d at

732. The district judge may also receive further evidence or recommit the

matter to the magistrate judge with instructions. 28 U.S.C. § 636(b)(1)(C).



are adopted by the district court without objection, they are reviewed on appeal under a
plain-error standard, but questions of law remain subject to de novo review).


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     After conducting a careful, de novo review of the R&R and

Betancourt’s objections, the Court finds that Magistrate Judge Anand’s

recommendations should be accepted and Betancourt’s objections should

be overruled.

     Betancourt claims he is entitled to relief under § 2255 on three

grounds: first, that his guilty plea was not knowing and voluntary; second,

that his plea counsel rendered ineffective assistance in connection with his

plea and sentencing; and third, that his plea counsel rendered ineffective

assistance for failing to appeal his sentence. As a remedy, Betancourt seeks

an out-of-time appeal.

     Betancourt first argues his plea was not knowing or voluntary. He

claims he only pled guilty because he believed he would receive a thirty-six-

month sentence. The Court sentenced him to ninety-six months. He now

claims that had he known he would not receive a thirty-six-month sentence

he would not have pled guilty. Betancourt’s belief that he would receive a

thirty-six-month sentence apparently stemmed from an email sent by the

prosecuting attorney to Betancourt’s plea counsel. The prosecuting

attorney wrote that a co-defendant accepted an identical plea agreement

and received a thirty-six-month sentence. She wrote that the



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co-defendant’s agreement was “exactly what [she] proposed for Mr.

Betancourt.” See [439] at 15. Betancourt claims the email “promised” him

a thirty-six-month sentence, so his plea was knowing and voluntary only if

he received that sentence. Because he received a ninety-six-month

sentence, he argues his plea was not knowing and voluntary.

      Betancourt’s second argument is that his plea counsel rendered

ineffective assistance because he failed to adequately inform him about the

nature and consequences of his guilty plea and the attendant sentence.

      Betancourt’s statements at the plea colloquy foreclose both his first

and second grounds for relief.

      At the plea colloquy, Betancourt, through a court-appointed

interpreter, stated each of the following: he entered the plea through his

own free will, no one coerced him to enter the plea, no one promised him

anything beyond what was in the plea agreement,3 he reviewed the plea

agreement with his counsel, he understood the plea agreement, he

understood that he faced a maximum sentence of twenty years, he

understood he could not withdraw his plea even if he received a longer

sentence than the high end of his sentencing-guideline range, and he
      3 The plea agreement did not contain any reference to a thirty-six-month

sentence or the email discussing a thirty-six-month sentence.


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understood that the Court was not bound by any agreement between him

and the government as to what sentence he should receive. See [388] at 1,

2, 6-7, 11-12.

      Betancourt now claims many of those statements were untrue. He

claims he did not understand the plea agreement. He claims his attorney

did not discuss the plea agreement or adequately explain it to him. He

claims he pled guilty only because he believed he would receive a thirty-six-

month sentence. His current claims obviously contradict his statements at

the plea colloquy. Betancourt explains these contradictions by saying he

was promised a thirty-six-month sentence if he just “went along” with the

plea colloquy. But his ex-post explanation, which Magistrate Judge Anand

described as “vague at best,” is in stark contrast with his sworn testimony at

the plea colloquy. And there is a “strong presumption that statements

made during a plea colloquy are true.” United States v. Anderson, 384 F.

App’x 863, 865 (11th Cir. 2010); see Blackledge v. Allison, 431 U.S. 63, 74

(1977) (“Solemn declarations in open court carry a strong presumption of

verity.”). A defendant must meet a high burden to show that his statements

at a plea colloquy were false. See Patel v. United States, 252 F. App’x 970,

974-75 (11th Cir. 2007). Betancourt has not met this burden.



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      His statements at the plea colloquy, which are imbued with a strong

presumption of truth, foreclose any claim that his plea was unknowing or

involuntary. See United States v. Cardenas, 230 F. App’x 933, 935 (11th

Cir. 2007) (finding a defendant did not overcome the presumption that

statements at a plea colloquy are true simply because he claimed his

counsel promised him a shorter sentence, where he stated at the colloquy

that he understood the court was not required to accept any sentence

recommendation or agreement). Furthermore, Betancourt’s counsel

specifically warned him not to rely on the thirty-six-month estimate in the

prosecutor’s email. See [470] at 38-39, 46, 53. In any case, even if his

counsel had estimated he would receive a thirty-six-month sentence, his

plea would still have been knowing and voluntary under our circuit’s

precedent. See United States v. Pease, 240 F.3d 938, 941 (11th Cir. 2001)

(per curiam).

      Betancourt’s statements at the plea colloquy also foreclose his second

claim, that his counsel was ineffective for failing to properly advise him

about the nature and consequences of his plea. The Court’s explanation of

the maximum sentence Betancourt faced and its warning that it was not

bound by any agreement eliminates any prejudice under Strickland’s



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ineffective assistance test. See Dickey v. United States, 437 F. App’x 851,

851 (11th Cir. 2011) (per curiam) (finding no prejudice where the

defendant’s counsel erroneously advised him he faced a maximum of 135

years because the district court explained to the defendant that he faced a

maximum term of life imprisonment).

      Even ignoring his statements at the plea colloquy, Betancourt cannot

show prejudice because no rational defendant would have rejected the plea

agreement. See Padilla v. Kentucky, 559 U.S. 356, 372 (2010) (holding that

to meet the Strickland test in this context, a defendant must show that “a

decision to reject the plea bargain would have been rational under the

circumstances”). Here, the government dismissed forty-one additional

counts against Betancourt in exchange for his guilty plea. Furthermore, his

guilty plea resulted in a three-level guideline reduction for acceptance of

responsibility. Had he gone to trial, the government would have presented

overwhelming evidence of guilt, see [388] at 8-11, and he likely would have

been sentenced to a significantly longer term of imprisonment. A decision

to reject the plea agreement would have been anything but rational, so

Betancourt cannot show prejudice. See United States v. Miranda-Alfaro,

462 F. App’x 935, 937 (11th Cir. 2012) (finding no rational defendant would



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have rejected a plea where the plea reduced his sentence by eight years’

imprisonment).

      Finally, Betancourt argues his plea counsel rendered ineffective

assistance because he failed to consult with him about his right to appeal.

He claims he wanted to instruct his counsel to file an appeal, but that he

couldn’t because he had no way to contact his attorney after sentencing. As

a remedy, Betancourt requests an out-of-time appeal.

      The Supreme Court and the Eleventh Circuit have laid out a step-by-

step analysis for district courts analyzing claims of ineffective assistance of

counsel for a failure to appeal. See Roe v. Flores-Ortega, 528 U.S. 470

(2000); Gomez-Diaz v. United States, 433 F.3d 788, 791-92 (11th Cir.

2005).

      As an initial matter, an attorney’s performance is per se deficient if he

fails to appeal after his client asks him to do so. Gomez-Diaz, 433 F.3d at

791-92. In such a case, the first Strickland prong of deficient performance

is automatically met. Id. at 791 (quoting Strickland v. Washington, 466

U.S. 668, 688 (1984)). Then to meet the prejudice prong, the defendant

need only show that he would have appealed but for his attorney’s deficient

performance. Id. Betancourt attempts to argue that his counsel’s



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performance was deficient per se by citing to various cases so holding, but

those cases are inapposite. In those cases, the defendant actually asked his

attorney to appeal. See Flores-Ortega, 528 U.S. at 477-86 (holding an

attorney’s assistance was ineffective where he disregarded a defendant’s

instructions to appeal); see also Gomez-Diaz, 433 F.3d at 793-94 (stating

that if a defendant has not waived his right to appeal and asks his attorney

to appeal but his attorney does not, he is entitled to an out-of-time appeal);

Garcia v. United States, No. 1:08-cr-437-WSD-JFK-4, Dkt. No. 259 at 5

(unpublished), report and recommendation adopted at [259] (“Movant

asserts that he instructed his attorney to pursue a timely appeal and claims

that his attorney’s failure to do so constitutes ineffective assistance of

counsel entitling him to relief.”). Betancourt does not allege that he ever

asked his counsel to appeal, so his counsel’s performance was not deficient

per se.

      But even if a defendant does not specifically ask his attorney to

appeal, district courts must still ask whether the attorney “consulted with

the client regarding the advantages and disadvantages of appealing and

made a reasonable effort to determine the client’s wishes.” Gomez-Diaz,

433 F.3d at 792 (citing Flores-Ortega, 528 U.S. at 480). If the attorney



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consulted the client, then the attorney has acted unreasonably only if he

ignored the client’s wishes to appeal. Id. If the attorney failed to consult

the client, the attorney may have acted unreasonably if he had an

affirmative duty to consult. Id.

      To follow this analytical framework, the Court must first determine

whether Betancourt’s attorney consulted with him about his right to appeal.

See Flores-Ortega, 528 U.S. at 479; Thompson v. United States, 504 F.3d

1203, 1207 (11th Cir. 2007). To adequately consult about a right to appeal,

an attorney should inform his client about the right, explain the pros and

cons of an appeal, and make a reasonable effort to determine whether the

client wishes to pursue an appeal. Thompson, 504 F.3d at 1206.

      Betancourt testified that his attorney never explained his right to

appeal. But his attorney testified he met with Betancourt several times and

discussed his right to appeal with him both before and after sentencing.

Before sentencing, Betancourt’s attorney testified he explained to

Betancourt that signing the appeal waiver would likely render any appeal

unsuccessful because he would be waiving his right to appeal. Betancourt’s

attorney also testified that after sentencing he asked Betancourt if he

wanted to appeal and Betancourt said he did not.



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     Magistrate Judge Anand found the attorney’s unequivocal testimony

on the issue to be more credible than Betancourt’s “vague recitation of [the]

facts.” See Thompson, 504 F.3d at 1206 (citing Carr v. Schofield, 364 F.3d

1246, 1264-65 (11th Cir. 2004) (holding that a reviewing court uses a clear

error standard to review a determination of whether an attorney’s

testimony about his performance is credible)). Accordingly, Magistrate

Judge Anand found that Betancourt’s attorney adequately consulted with

him about his right to appeal. The Court agrees.

     Out of an abundance of caution, Magistrate Judge Anand continued

with the second inquiry and asked whether, if the attorney’s conduct was

not an adequate consultation, the attorney had an affirmative duty to

consult. He found no affirmative duty, and the Court agrees again.

     A defendant’s attorney has a duty to consult about an appeal in two

circumstances: if a rational defendant would want to appeal (an objective

standard), or the defendant himself reasonably demonstrated an interest in

appealing (a subjective standard). Flores-Ortega, 528 U.S. at 480;

Thompson, 504 F.3d at 1207; Otero v. United States, 499 F.3d 1267, 1270

(11th Cir. 2007). Neither circumstance is present here. The objective

standard was not met because no rational defendant would want to appeal:



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Betancourt signed an appeal waiver and his sentence was, considering the

circumstances, relatively low. His ninety-six-month sentence was at the

low end of the guideline range, it was less than the twenty-year statutory

maximum, and it was less than he would have received had he been

convicted by a jury on the forty-one counts dismissed as part of the plea

agreement. And the subjective standard was also not met: Betancourt

himself never told his counsel that he wanted to appeal. In sum,

Betancourt’s counsel was not ineffective for failing to appeal.

      For the reasons set forth above, the Court OVERRULES Betancourt’s

objections [487], ADOPTS AS ITS ORDER the Final Report and

Recommendation [478], and DENIES Betancourt’s § 2255 motions to

vacate [373, 439]. A Certificate of Appealability is DENIED.

      IT IS SO ORDERED this 12th day of November, 2013.



                                    ___________________________
                                    Timothy C. Batten, Sr.
                                    United States District Judge




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